Case 3:97-cr-02520-RSH   Document 660   Filed 08/22/13   PageID.2414   Page 1 of 7
Case 3:97-cr-02520-RSH   Document 660   Filed 08/22/13   PageID.2415   Page 2 of 7
Case 3:97-cr-02520-RSH   Document 660   Filed 08/22/13   PageID.2416   Page 3 of 7
Case 3:97-cr-02520-RSH   Document 660   Filed 08/22/13   PageID.2417   Page 4 of 7
Case 3:97-cr-02520-RSH   Document 660   Filed 08/22/13   PageID.2418   Page 5 of 7
Case 3:97-cr-02520-RSH   Document 660   Filed 08/22/13   PageID.2419   Page 6 of 7
Case 3:97-cr-02520-RSH   Document 660   Filed 08/22/13   PageID.2420   Page 7 of 7
